JS 44 (Rev. 04/21)               Case 2:24-cv-05560-MMB
                                                    CIVILDocument
                                                          COVER 1-1  Filed 10/21/24 Page 1 of 2
                                                                  SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       YUSEF SALAAM, RAYMOND SANTANA, KEVIN
                                                                                                          DONALD J. TRUMP
       RICHARDSON, ANTRON BROWN and KOREY WISE
   (b) County of Residence of First Listed Plaintiff New York County                                     County of Residence of First Listed Defendant               Palm Beach County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         See attachment

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                     and One Box for Defendant)
   1   U.S. Government                 3   Federal Question                                                                    PTF        DEF                                          PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1       Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          22   Incorporated and Principal Place           55        5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a             3          3    Foreign Nation                             66        6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability            690 Other                                28 USC 157                         3729(a))
  140 Negotiable Instrument              Liability               367 Health Care/                                                         INTELLECTUAL                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                    410
                                                                                                                                                                           410 Antitrust
                                                                                                                                                                               Antitrust
      & Enforcement of Judgment          Slander                     Personal Injury                                                    820 Copyrights                     430
                                                                                                                                                                           430 Banks
                                                                                                                                                                               Banks and
                                                                                                                                                                                      and Banking
                                                                                                                                                                                           Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                         450 Commerce
  152 Recovery of Defaulted              Liability               368 Asbestos Personal                                                  835 Patent - Abbreviated           460 Deportation
       Student Loans                 340 Marine                       Injury Product                                                        New Drug Application           470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product               Liability                                                         840 Trademark                          Corrupt Organizations
  153 Recovery of Overpayment            Liability              PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets           480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                        (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                 485
                                                                                                                                                                           485 Telephone
                                                                                                                                                                               Telephone Consumer
                                                                                                                                                                                           Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                         Protection Act
  195 Contract
  195 Contract Product
                Product Liability
                        Liability    360 Other Personal               Property Damage                   Relations                       861 HIA (1395ff)                   490 Cable/Sat TV
  196 Franchise                          Injury                   385 Property Damage              740 Railway Labor Act                862 Black Lung (923)               850 Securities/Commodities/
                                     362 Personal Injury -            Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                  Exchange
                                         Medical Malpractice                                            Leave Act                       864 SSID Title XVI                 890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                 893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870
                                                                                                                                         870 Taxes
                                                                                                                                             Taxes (U.S.
                                                                                                                                                   (U.S. Plaintiff
                                                                                                                                                         Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                                or Defendant)                 896
                                                                                                                                                                           896 Arbitration
                                                                                                                                                                               Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party                899
                                                                                                                                                                           899 Administrative
                                                                                                                                                                               Administrative Procedure
                                                                                                                                                                                               Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                            26 USC 7609                      Act/Review or Appeal of
                                         Employment               Other:                           462 Naturalization Application                                              Agency Decision
                                     446 Amer. w/Disabilities -   540 Mandamus & Other             465 Other Immigration                                                   950 Constitutionality of
                                         Other                    550 Civil Rights                     Actions                                                                 State Statutes
                                     448 Education                555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                      8 Multidistrict
    Proceeding              State Court                           Appellate Court               Reopened                    Another District          Litigation -                       Litigation -
                                                                                                                            (specify)                 Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       Defamation, False Light, and IIED related to statements made by Defendant during September 10, 2024 presidential debate
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
Oct 21, 2024                                                                    /s/ Shanin Specter
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                            MAG. JUDGE
     Case 2:24-cv-05560-MMB Document 1-1 Filed 10/21/24 Page 2 of 2




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